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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

            In re:
                                                                             Chapter 11
                                                              1
            Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On December 11, 2023, at my direction and under my supervision, employees of Stretto
           caused the following documents to be served via first-class mail on the service list attached hereto
           as Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                     Notice of Witness’s Voluntary Agreement to Comply With the Debtors’ Rule 2004 of
                      the Federal Rules of Bankruptcy Procedure Discovery Requests (Docket No. 517)

                     Notice of Filing of Second Amended Plan Supplement With Respect to Debtors’
                      Amended Joint Chapter 11 Plan of Reorganization Under Chapter 11 of the
                      Bankruptcy Code (Docket No. 540)

                     Declaration of Michael Wyse in Support of Debtors’ Motion for Entry of an Order
                      Authorizing the Debtors to Redact and File Under Seal Certain Information Related
                      to Debtors’ Motion for Entry of an Order (I) Approving Debtors’ Entry Into License
                      Agreement With Electric Solidus Inc., and (II) Granting Related Relief
                      (Docket No. 544)

                   Furthermore, on December 11, 2023, at my direction and under my supervision, employees
           of Stretto caused the following document to be served via first-class mail on twenty three (23)
           confidential parties not included herein, and via electronic mail on twenty one (21) confidential
           parties not included herein:

                     Notice of Filing of Second Amended Plan Supplement With Respect to Debtors’
                      Amended Joint Chapter 11 Plan of Reorganization Under Chapter 11 of the
                      Bankruptcy Code (Docket No. 540)



                                            [THIS SPACE INTENTIONALLY LEFT BLANK]


           ______________________________________________
           1
             The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                   Furthermore, on December 11, 2023, at my direction and under my supervision, employees
           of Stretto caused the following document to be served via first-class mail on Electric Solidus Inc.
           d/b/a Swan Bitcoin, c/o Manatt, Phelps & Phillips, LLP, Attn: Richard McDerby & Michel
           Narganes at One Embarcadero Center 30th Floor, San Francisco, CA 94111, and via electronic
           mail on Electric Solidus Inc. d/b/a Swan Bitcoin, c/o Manatt, Phelps & Phillips, LLP, Attn: Richard
           McDerby & Michel Narganes at MNarganes@manatt.com and RMcDerby@manatt.com:

                   Declaration of Michael Wyse in Support of Debtors’ Motion for Entry of an Order
                    Authorizing the Debtors to Redact and File Under Seal Certain Information Related
                    to Debtors’ Motion for Entry of an Order (I) Approving Debtors’ Entry Into License
                    Agreement With Electric Solidus Inc., and (II) Granting Related Relief
                    (Docket No. 544)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           documents via electronic service.


           Dated: December 14, 2023                                       _____________________________
                                                                                 Andrew K. Fitzpatrick
           State of Colorado            )
                                        ) SS.
           County of Denver             )

           Subscribed and sworn before me this 14th day of December 2023 by Andrew K. Fitzpatrick.

           ___________________________
              (Notary’s official signature)




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                                                Exhibit A




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                                                                                         Exhibit A
                                                                                   Served via First-Class Mail

                    Name                               Attention                     Address 1                           Address 2                   City       State     Zip        Country
 AK Office of Attorney General                Attn: Bankruptcy Unit   1031 W 4th Ave Ste 200                                                  Anchorage        AK     99501
 AL Office of Attorney General                Attn: Bankruptcy Unit   501 Washington Ave                                                      Montgomery       AL     36104
 AR Office of Attorney General                Attn: Bankruptcy Unit   323 Center St Ste 200                                                   Little Rock      AR     72201
 AZ Office of Attorney General                Attn: Bankruptcy Unit   2005 N Central Ave                                                      Phoenix          AZ     85004
 CA Office of Attorney General                Attn: Bankruptcy Unit   PO Box 944255                                                           Sacramento       CA     94244-2550
 CO Office of Attorney General                Attn: Bankruptcy Unit   1300 Broadway 10Th Fl                 Ralph L. Carr Judicial Building   Denver           CO     80203
 CT Office of Attorney General                Attn: Bankruptcy Unit   165 Capitol Ave                                                         Hartford         CT     06106
 DC Office of Attorney General                Attn: Bankruptcy Unit   441 4Th St Nw Ste 1100S                                                 Washington       DC     20001
 FL Office of Attorney General                Attn: Bankruptcy Unit   The Capitol Pl-01                                                       Tallahassee      FL     32399
 GA Office of Attorney General                Attn: Bankruptcy Unit   40 Capitol Sq SW                                                        Atlanta          GA     30334
 HI Office of Attorney General                Attn: Bankruptcy Unit   425 Queen Street                                                        Honolulu         HI     96813
 IA Office of Attorney General                Attn: Bankruptcy Unit   1305 E. Walnut Street Rm 109          Hoover State Office Building      Des Moines       IA     50319
 ID Office of Attorney General                Attn: Bankruptcy Unit   700 W. Jefferson St Suite 210                                           Boise            ID     83720
 IL Office of Attorney General                Attn: Bankruptcy Unit   100 W. Randolph St                   James R. Thompson Center           Chicago          IL     62706
 IN Office of Attorney General                Attn: Bankruptcy Unit   302 W Washington St 5Th Fl           Indiana Government Center South    Indianapolis     IN     46204
 Internal Revenue Service                     Attn: Bankruptcy Unit   PO Box 7346                                                             Philadelphia     PA     19101-7346
 KS Office of Attorney General                Attn: Bankruptcy Unit   120 SW 10Th Ave 2nd Fl                                                  Topeka           KS     66612
 KY Office of Attorney General                Attn: Bankruptcy Unit   700 Capitol Ave Ste 118               Capitol Building                  Frankfort        KY     40601
 LA Office of Attorney General                Attn: Bankruptcy Unit   1885 N. Third St                                                        Baton Rouge      LA     70802
 MA Office of Attorney General                Attn: Bankruptcy Unit   1 Ashburton Place 20Th Floor                                            Boston           MA     02108
 MD Office of Attorney General                Attn: Bankruptcy Unit   200 St. Paul Pl                                                         Baltimore        MD     21202
 ME Office of Attorney General                Attn: Bankruptcy Unit   6 State House Station                                                   Augusta          ME     04333
 MI Office of Attorney General                Attn: Bankruptcy Unit   525 W Ottawa St                       G. Mennen Williams Bldg 7th Fl    Lansing          MI     48909
 MN Office of Attorney General                Attn: Bankruptcy Unit   445 Minnesota St Ste 1400                                               St. Paul         MN     55101
 MO Office of Attorney General                Attn: Bankruptcy Unit   207 W High St                         Supreme Court Building            Jefferson City   MO     65101
 MO Office of Attorney General                Attn: Bankruptcy Unit   215 N. Sanders                        Justice Building Third Fl         Helena           MT     59601
 MS Office of Attorney General                Attn: Bankruptcy Unit   550 High St Ste 1200                  Walter Sillers Building           Jackson          MS     39201
 NC Office of Attorney General                Attn: Bankruptcy Unit   114 W Edenton St                                                        Raleigh          NC     27603
 ND Office of Attorney General                Attn: Bankruptcy Unit   State Capitol 600 E Boulevard Ave     Dept. 125                         Bismarck         ND     58505
 NE Office of Attorney General                Attn: Bankruptcy Unit   2115 State Capitol                                                      Lincoln          NE     68509
 NH Office of Attorney General                Attn: Bankruptcy Unit   33 Capitol St.                        NH Department Of Justice          Concord          NH     03301

 NJ Office of Attorney General                Attn: Bankruptcy Unit   25 Market St 8Th Fl West Wing         Richard J. Hughes Justice Complex Trenton          NJ    08611
 NM Office of Attorney General                Attn: Bankruptcy Unit   408 Galisteo Street                   Villagra Building                 Santa Fe         NM    87501
 NV Office of Attorney General                Attn: Bankruptcy Unit   100 N Carson St                       Old Supreme Court Building        Carson City      NV    89701
 NY Office of Attorney General                Attn: Bankruptcy Unit   The Capitol                           2nd Floor                         Albany           NY    12224
 OH Office of Attorney General                Attn: Bankruptcy Unit   30 E Broad St 14Th Fl                 State Office Tower                Columbus         OH    43215

 OK Office of Attorney General                Attn: Bankruptcy Unit   313 NE 21St St                                                          Oklahoma City OK       73105
 OR Office of Attorney General                Attn: Bankruptcy Unit   1162 Court St NE                                                        Salem         OR       97301
 PA Office of Attorney General                Attn: Bankruptcy Unit   Strawberry Square 16th Fl                                               Harrisburg    PA       17120
 PR Office of Attorney General                Attn: Bankruptcy Unit   350 Carlos Chardón Street             Torre Chardón Suite 1201          San Juan      PR       00918         Puerto Rico
 RI Office of Attorney General                Attn: Bankruptcy Unit   150 S Main St                                                           Providence    RI       02903
 SC Office of Attorney General                Attn: Bankruptcy Unit   1000 Assembly St Rm 519               Rembert C. Dennis Bldg            Columbia      SC       29201
 SD Office of Attorney General                Attn: Bankruptcy Unit   1302 E Highway 14 Ste 1                                                 Pierre        SD       57501


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                                                                                           Exhibit A
                                                                                    Served via First-Class Mail

                   Name                                Attention                    Address 1                             Address 2                City        State      Zip        Country
                                              Attn: Andrew Calamari
 Securities And Exchange Commission           Regional Dir             200 Vesey Street Suite 400            NY Reg Office Brookfield Place   New York         NY      10281-1022
                                              Attn: Lara Shalov
 Securities And Exchange Commission           Mehraban                 100 Pearl St Suite 20-100                                              New York         NY      10004-2616
                                              Attn: Secretary of The
 Securities And Exchange Commission           Treasury                 100 F Street NE                                                        Washington       DC      20549
 TN Office of Attorney General                Attn: Bankruptcy Unit    301 6Th Ave N                                                          Nashville        TN      37243
 TX Office of Attorney General                Attn: Bankruptcy Unit    300 W. 15Th St                                                         Austin           TX      78701
 U.S. Trustee District of Delaware            Attn: Linda Casey Esq.   844 N King St #2207                   Lockbox 35                       Wilmington       DE      19801
 US Attorney Office Dist of Delaware          Attn: Bankruptcy Unit    1313 N Market Street                                                   Wilmington       DE      19801
 UT Office of Attorney General                Attn: Bankruptcy Unit    350 North State St Ste 230            Utah State Capitol Complex       Salt Lake City   UT      84114
 VA Office of Attorney General                Attn: Bankruptcy Unit    202 N. Ninth St.                                                       Richmond         VA      23219
 VT Office of Attorney General                Attn: Bankruptcy Unit    109 State St.                                                          Montpelier       VT      05609
 WA Office of Attorney General                Attn: Bankruptcy Unit    1125 Washington St SE                                                  Olympia          WA      98501
 WA Office of Attorney General                Attn: Bankruptcy Unit    PO Box 40100                                                           Olympia          WA      98504-00
 WI Office of Attorney General                Attn: Bankruptcy Unit    17 West Main St Room 114 East P                                        Madison          WI      53702
 WV Office of Attorney General                Attn: Bankruptcy Unit    1900 Kanawha Blvd E State Capitol     Building 1 Rm E-26               Charleston       WV      25305
 WY Office of Attorney General                Attn: Bankruptcy Unit    2320 Capitol Ave                      Kendrick Building                Cheyenne         WY      82002




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                                                Exhibit B




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                                                                                          Exhibit B
                                                                                    Served via Electronic Mail

                                Name                                                 Attention 1                      Attention 2                                Email
                                                                        c/o Pashman Stein Walder Hayden, Attn: John W. Weiss, William R.       jweiss@pashmanstein.com
 Allegheny Casualty Company                                             P.C.                             Firth, III                            wfirth@pashmanstein.com
 Allsectech, Inc.                                                       Attn: Aviral Dhirendra                                                 aviral198828@gmail.com
                                                                        c/o Troutman Pepper Hamilton     Attn: David M. Fournier & Evelyn J.   david.fournier@troutman.com
 AnchorCoin LLC                                                         Sanders LLP                      Meltzer                               evelyn.meltzer@troutman.com
 Austin Ward                                                                                                                                   austindward@proton.me
                                                                        c/o Meyers, Roman, Friedberg &
 Coinbits, Inc.                                                         Lewis LPA                           Attn: David M Newumann                dneumann@meyersroman.com
                                                                                                                                                  susheelkirpalani@quinnemanuel.com
                                                                                                                                                  pattytomasco@quinnemanuel.com
                                                                                                            Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
                                                                                                            Tomasco & Daniel Holzman & Alain alainjaquet@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd.,   c/o Quinn Emanuel Urquhart &        Jaquet & Razmig Izakelian & Joanna razmigizakelian@quinnemanuel.com
 and Bittrex Malta Ltd.                                                 Sullivan, LLP                       Caytas                                joannacaytas@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd.,   c/o Young Conaway Stargatt &        Attn: Robert S. Brady & Kenneth J.    rbrady@ycst.com
 and Bittrex Malta Ltd.                                                 Taylor, LLP                         Enos                                  kenos@ycst.com
 DMG Blockchain Solutions, Inc.                                         Attn: Steven Eliscu                                                       steve@dmgblockchain.com
                                                                                                                                                  akornfeld@pszjlaw.com
                                                                        c/o Pachulski Stang Ziehl & Jones   Attn: Alan J. Kornfeld & Jason H.     jrosell@pszjlaw.com
 George Georgiades, Kevin Lehtiniitty, and Scott Purcell                LLP                                 Rosell & James E. O’Neill             joneill@pszjlaw.com
                                                                        c/o Gellert Scali Busenkell &
 Kado Software, Inc.                                                    Brown, LLC                          Attn: Michael Van Gorder           mvangorder@gsbblaw.com
 Kado Software, Inc.                                                    c/o Raines Feldman Littrell LLP     Attn: David S. Forsh               dforsh@raineslaw.com
 Net Cents Technology, Inc.                                             Attn: Clayton Moore                                                    claytonmoore@net-cents.com
 Office of the Attorney General for the District of Columbia                                                                                   oag@dc.gov
 Office of the Attorney General for the State of Alabama                                                                                       consumerinterest@Alabamaag.gov
 Office of the Attorney General for the State of Alaska                                                                                        attorney.general@alaska.gov
 Office of the Attorney General for the State of Arizona                                                                                       BCEIntake@azag.gov
 Office of the Attorney General for the State of California                                                                                    xavier.becerra@doj.ca.gov
 Office of the Attorney General for the State of Colorado                                                                                      DOR_TAC_Bankruptcy@state.co.us
 Office of the Attorney General for the State of Connecticut                                                                                   attorney.general@ct.gov
 Office of the Attorney General for the State of Hawaii                                                                                        hawaiiag@hawaii.gov
 Office of the Attorney General for the State of Illinois                                                                                      michelle@lisamadigan.org
 Office of the Attorney General for the State of Iowa                                                                                          consumer@ag.iowa.gov
 Office of the Attorney General for the State of Kentucky                                                                                      KyOAGOR@ky.gov
 Office of the Attorney General for the State of Louisiana                                                                                     ConstituentServices@ag.louisiana.gov
 Office of the Attorney General for the State of Maryland                                                                                      oag@oag.state.md.us
 Office of the Attorney General for the State of Massachusetts                                                                                 ago@state.ma.us
 Office of the Attorney General for the State of Michigan                                                                                      miag@michigan.gov
 Office of the Attorney General for the State of Missouri                                                                                      consumer.help@ago.mo.gov
 Office of the Attorney General for the State of New Hampshire                                                                                 attorneygeneral@doj.nh.gov
 Office of the Attorney General for the State of North Dakota                                                                                  ndag@nd.gov
 Office of the Attorney General for the State of Oklahoma                                                                                      questions@oag.ok.gov
 Office of the Attorney General for the State of Utah                                                                                          bankruptcy@agutah.gov
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                                                                                  Exhibit B
                                                                            Served via Electronic Mail

                                Name                                        Attention 1                          Attention 2                              Email
 Office of the Attorney General for the State of Vermont                                                                                  ago.info@vermont.gov
 Office of the Attorney General for the State of West Virginia                                                                            consumer@wvago.gov
                                                                                                                                          rstark@brownrudnick.com
                                                                                                    Attn: Robert J. Stark & Bennett S.    bsilverberg@brownrudnick.com
                                                                                                    Silverberg & Kenneth J. Aulet &       kaulet@brownrudnick.com
 Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP              Jennifer M. Schein                    jschein@brownrudnick.com
                                                                                                    Attn: Tristan G. Axelrod & Matthew A. taxelrod@brownrudnick.com
 Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP              Sawyer                                msawyer@brownrudnick.com
                                                                 c/o Womble Bond Dickinson (US)     Attn: Donald J. Detweiler & Elazar A. don.detweiler@wbd-us.com
 Official Committee of Unsecured Creditors                       LLP                                Kosman                                elazar.kosman@wbd-us.com
 OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP               Attn: Sommer L. Ross                  slross@duanemorris.com
                                                                 c/o Buchalter, A Professional
 Oracle America, Inc.                                            Corporation                        Attn: Shawn M. Christianson         schristianson@buchalter.com
                                                                 c/o McElroy, Deutsch, Mulvaney &
 Philadelphia Indemnity Insurance Company                        Carpenter, LLP                     Attn: Gary D. Bressler              gbressler@mdmc-law.com
 Polaris Ventures                                                Attn: Ruairi Donnelly                                                  ruairi.donnelly@polaris-ventures.org
                                                                 c/o Mintz, Levin, Cohn, Ferris,
 Polaris Ventures                                                Glovsky and Popeo, P.C.            Attn: Abigail O’Brient              aobrient@mintz.com
                                                                 c/o Mintz, Levin, Cohn, Ferris,
 Polaris Ventures                                                Glovsky and Popeo, P.C.            Attn: Joseph R. Dunn                jrdunn@mintz.com
                                                                 c/o Young Conaway Stargatt &       Attn: Michael R. Nestor & Ryan M.   mnestor@ycst.com
 Polaris Ventures                                                Taylor, LLP                        Bartley                             rbartley@ycst.com
 Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                             nyrobankruptcy@sec.gov
 Stably Corporation                                              Attn: Ivan Inchauste                                                   ivan@stably.io
                                                                                                                                        JWilliamson@gravislaw.com
 Stably Corporation                                              c/o Gravis Law, PLLC               Attn: Jill Williamson               MPyfrom@gravislaw.com
                                                                                                                                        JOLeary@gravislaw.com
                                                                                                                                        DCannon@gravislaw.com
                                                                                                                                        MHess@gravislaw.com
 Stably Corporation                                              c/o Gravis Law, PLLC               Attn: John W. O'Leary               CBlanco@gravislaw.com
 Thomas Pageler                                                  c/o Clark Hill PLC                 Attn: Karen M. Grivner              kgrivner@clarkhill.com
                                                                                                    Attn: Tobias S. Keller & Traci L.   tkeller@kbkllp.com
 Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP      Shafroth                            tshafroth@kbkllp.com
                                                                 c/o Pashman Stein Walder Hayden
 Tiki Labs, Inc. dba Audius Inc.                                 PC                              Attn: John W. Weiss                   jweiss@pashmanstein.com
 TrueCoin, LLC and TrustToken, Inc.                              c/o Ashby & Geddes, PA          Attn: Gregory A. Taylor               gtaylor@ashbygeddes.com
                                                                                                                                       fstrong@wmd-law.com
                                                                                                  Attn: Fletcher W. Strong & Steven S. sfitzgerald@wmd-law.com
 TrueCoin, LLC and TrustToken, Inc.                              c/o Wollmuth Maher & Deutsch LLP Fitzgerald & Yating Wang             ywang@wmd-law.com
 US Attorney’s Office for the District of Delaware                                                                                     USADE.ECFBANKRUPTCY@usdoj.gov
 Yousef Abbasi                                                                                                                         Yousef.a.abbasi@gmail.com



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